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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

  SHERIDAN HEALTHCORP, INC.,                       §
                                                   §
           Plaintiff,                              §
                                                   §
  vs.                                              §
                                                   §
  AETNA HEALTH INC., AETNA LIFE                    §          NO. ______________________
  INSURANCE COMPANY, COVENTRY                      §
  HEALTH AND LIFE INSURANCE                        §
  COMPANY, COVENTRY HEALTH                         §
  CARE OF FLORIDA, INC., COVENTRY                  §
  HEALTH PLAN OF FLORIDA, INC., and                §
  FIRST HEALTH LIFE AND HEALTH                     §
  INSURANCE COMPANY,                               §
                                                   §
           Defendants.                             §

                        SECOND NOTICE OF REMOVAL OF CIVIL ACTION

           Defendants Aetna Health Inc., Aetna Life Insurance Company (collectively, “Aetna”),

  Coventry Health and Life Insurance Company, Coventry Health Care of Florida, Inc., Coventry

  Health Plan of Florida, Inc. (collectively, “Coventry”), and First Health Life and Health

  Insurance Company (“First Health”), all collectively referred to herein as “Defendants,” file this

  Second Notice of Removal of Civil Action brought by Plaintiff Sheridan Healthcorp, Inc.

  (“Sheridan”).

                                        INTRODUCTION

           Defendants are removing this case because Sheridan’s third set of lawyers have

  confirmed within the last 30 days that Sheridan is seeking damages for denied medical claims

  pursuant to extra-contractual causes of action that are not independent of ERISA under

  controlling Eleventh Circuit precedent. In preparing this case for its December 3, 2018 trial

  setting, the state court judge (the Honorable Chief Judge Jack Tuter) directed Sheridan at a



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  hearing on November 6th to remove any preempted ERISA medical claims that remained in

  Sheridan’s damages model, which Sheridan has since refused to do. Tellingly, when Defendants

  removed this case the first time, in 2015, after receiving a preliminary disclosure of claims at

  issue that included denied claims, Sheridan moved to remand on the basis that it “seeks no

  recovery against Aetna for denied care, coverage disputes or benefit denials” and that Sheridan

  would “specifically exclud[e]” all such claims from the action. Case No. 0:15-cv-62590-BB,

  CM/ECF No. 36 at 3. Sheridan repeatedly represented to the Court that it “seeks no recovery

  against Aetna for denied care, coverage disputes or benefit denials.” Case No. 0:15-cv-62590-

  BB, CM/ECF No. 36 at 2, 3, 6, 10, 11, 13, 14. Sheridan also filed an affidavit of its general

  counsel to get the case remanded to state court, which has since been shown to contain material

  untrue statements. 1 The Court granted Sheridan’s motion to remand on the basis of these

  affirmative representations that federal jurisdiction did not exist, and because this case involved

  only a contract claim. Sheridan’s representations were false.

            Now, after three years of litigating in state court based on Sheridan’s representations that

  its case did not include denied (only allegedly underpaid) claims, Sheridan has proffered recent

  testimony from its expert revealing that Defendants were right the first time—this case includes

  denied claims pursuant to non-contract claims and thus implicates ERISA as set forth in

  Sheridan’s damages model. Defendants advised Sheridan that Defendants’ expert had identified

  more than 5,400 claim lines in Sheridan’s damages model where medical benefits were denied



  1
      Compare Affidavit of Jillian E. Marcus in Support of Plaintiff’s Motion to Remand at Case No.
      0:15-cv-62590-BB, CM/ECF No. 36-3, with Videotaped Deposition of Jillian E. Marcus (June
      5, 2018) at 238:20 - 240:3. Because the deposition of Ms. Marcus was designated confidential
      in the state court proceeding, Defendants will move to file the transcript under seal following
      the procedures prescribed by the Local Rules and Sections 5A, 5K, 9A-D, and 10B, as
      applicable, of the CM/ECF Administrative Procedures.


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  under the terms of ERISA 2 plans after termination of the parties’ contracts. Recognizing that the

  inclusion of these denied claims provided a basis for federal jurisdiction, on November 6, the

  state court judge instructed Sheridan to promptly remove any denied claims, or to advise within 5

  days that it would not do so. On November 11, despite its prior promises to this Court, Sheridan

  advised Aetna in writing that it is refusing to exclude all denied claims from its damages model.

  Sheridan has since provided a spreadsheet of claims showing that Sheridan has removed only 36

  of the more than 5,400 post-termination denied claim lines from its damages model. In other

  words, contrary to its prior representations, Sheridan is still seeking recovery on denied claims.

           Sheridan presumably believes it can break its promises with impunity because it has

  advanced other arguments that it believes deprive this Court of subject matter jurisdiction under

  ERISA. But Sheridan’s arguments that it is not suing as an assignee of benefits, and seeks relief

  only under alleged independent contractual agreements with Defendants, are unavailing and

  untrue. Sheridan submitted claims as an assignee and, in addition to the contract and quasi-

  contract claims in its Complaint, Sheridan is also seeking to recover damages under an unjust

  enrichment theory that is not based on any contract. Simply put, because Sheridan is seeking

  recovery, in part, on denied claims, ERISA complete preemption raises a federal question under

  Eleventh Circuit law. See Conn. State Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d

  1337, 1351 (11th Cir. 2009) (holding that provider’s breach of contract and unjust enrichment

  claims were completely preempted, because the provider complained, “at least in part, about

  denials of benefits”).

           Moreover, Sheridan’s misrepresentations to the Court on the first removal that it was not

  seeking recovery on denied claims and would exclude any such claims from the action entitle


  2
      The Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1001-1461.


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  Defendants to remove a second time. See TKI, Inc. v. Nichols Research Corp., 191 F. Supp. 2d

  1307, 1312-13 (M.D. Ala. 2002) (allowing second notice of removal and denying remand, where

  the plaintiff’s deposition testimony after remand contradicted the plaintiff’s affidavit on which

  the district court had relied in granting motion to remand on first removal). Despite promising to

  do so, Sheridan has adamantly refused to remove all of the denied claims, including those

  exclusively governed by federal law. Defendants therefore file this Second Notice of Removal.

                                              GROUNDS

            The grounds in support of this Second Notice of Removal are as follows:

            1.     The State Court Action, Parties and Pleadings. Sheridan filed a civil action

  against Defendants, on or about May 29, 2015, in the 17th Judicial Circuit for Broward County,

  Florida, under Case No. 15-9394 (07) (the “State Court Action”). A true and correct copy of

  Sheridan’s Complaint without exhibits (the “Complaint”) is attached hereto as Attachment 1. 3

  Sheridan’s Complaint did not identify the medical claims forming the basis of its pleaded causes

  of action.

            2.     Defendants filed their Answer and Affirmative Defenses in the State Court Action

  on July 17, 2015. A true and correct copy of Defendants’ Answer and Affirmative Defenses is

  attached hereto as Attachment 2.

            3.     Defendants filed a Notice of Removal in this Court on December 10, 2015. Case

  No. 0:15-cv-62590-BB, CM/ECF No. 1. As noted above, Defendants removed the case at that


  3
       The state-court complaint is being filed as an attachment to this notice of removal without
      exhibits to ensure that it meets CM/ECF filing requirements regarding file size and because the
      original exhibits to the complaint were filed under seal. The complaint, as filed in the state
      court, including all exhibits, is provided with the state court record being filed
      contemporaneously with this notice and consistent with confidentiality protections. The
      remainder of the state court file will be electronically filed consistent with the case filing
      requirements of the U.S. District Court, Southern District of Florida.


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  time because they received a preliminary disclosure from Sheridan of the medical claims at

  issue, which disclosure included claims denied for lack of coverage and thus implicated ERISA.

            4.     Sheridan filed a Motion to Remand (the “First Motion to Remand”), which the

  Court granted on February 9, 2016 (the “Remand Order”). Id. CM/ECF No. 45. As also noted

  above, the Court accepted the representations by Sheridan that its case did not include any denied

  claims, only allegedly underpaid claims, and that Sheridan would remove from the scope of its

  case any denied claims brought to its attention.

            5.     This case has proceeded in the 17th Judicial Circuit for Broward County, Florida

  since that time. Subsequent proceedings have now revealed a new basis for removal.

            6.     This Notice is Timely Pursuant to 28 U.S.C. § 1446(b)(3). This Second Notice

  of Removal of Civil Action is timely pursuant to 28 U.S.C. § 1446(b)(3) because the State Court

  Action is being removed prior to the expiration of the statutorily allowed thirty-day period after

  Defendants received a copy of an amended pleading, motion, or other paper from which it was

  first ascertained that this case is one which is or has become removable. 4

            7.     Specifically, on October 29, 2018, Sheridan’s counsel sent a letter to Defendants’

  counsel addressing the scope of damages sought by Sheridan, as articulated in an expert report

  (the “October 29 Letter”). A true and correct copy of the October 29 Letter is attached hereto as

  Attachment 3. 5 In the October 29 Letter, Sheridan’s counsel admitted that Sheridan’s claims for

  4
        As this case involves federal question jurisdiction, not diversity, the one-year bar to removal
      under 28 U.S.C. § 1446(c)(1) is irrelevant. If the bar was applicable, however, Sheridan’s
      actions would easily meet the “bad faith” standard justifying removal after one year. See, e.g.,
      Hill v. Allianz Life Ins. Co. of N. Am., 51 F. Supp. 3d 1277, 1281 (M.D. Fla. 2014) (recognizing
      that a plaintiff’s claims are in bad faith if it attempts “to disguise the existence of the
      removability of the case”).
  5
      Defendants’ have subsequently amended their answer in state court. Defendants Second
      Amended Answer and Affirmative Defenses is the live pleading, which is attached hereto as
      Attachment 4.

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  damages include medical claims for which Defendants denied coverage for lack of medical

  necessity or other reasons:

                  Sheridan will continue to seek its damages as outlined in Mr.
                  Bouchner’s expert report and testimony . . . . Any disputed claims
                  in the pre-termination dataset dealing with the services rendered
                  under the applicable HBP Agreements were included by Sheridan
                  only if they were not paid by Defendants after Sheridan
                  complied with the applicable dispute resolution and appeals
                  provisions under those HBP Agreements.

  (emphasis added). Accordingly, Sheridan’s counsel admitted that Sheridan is seeking damages

  based upon claims that “were not paid”—i.e., were denied—by Defendants prior to the

  termination of the parties’ agreements.

          8.      Moreover, the October 29 Letter is incorrect in its assertion that these denied

  claims all pre-date termination of the parties’ contracts (the “Pre-Termination Denied Claims”).

  As Defendants have previously advised Sheridan, Defendants’ expert has identified more than

  5,400 denied claim lines in Sheridan’s dataset that post-date termination of the parties’ contracts

  (the “Post-Termination Denied Claims”).

          9.      The admission in Sheridan’s October 29 Letter that Sheridan is seeking damages

  for denied claims is directly contrary to the allegations Sheridan made in its Complaint, and to

  the representations it made to this Court in connection with the first removal and remand of this

  action. In the First Motion to Remand, for example, Sheridan repeatedly represented to the

  Court that this dispute involved only “rate of payment” issues, i.e., Sheridan represented that it

  was not asserting claims based upon Defendants’ denial of benefits (or “right to payment”

  issues). Sheridan’s representations included:




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                  Sheridan filed this state law action . . . for breaches of contract
                  resulting from Defendants’ failures to pay Sheridan the appropriate
                  “rate of payment” for medically necessary, covered health care
                  services.

                  Sheridan’s asserted claims concern only the rate of payment owed
                  by Defendants. Sheridan seeks no recovery against Aetna for
                  denied care, coverage disputes or benefit denials and specifically
                  excludes from its state court action any issues involving these
                  “right to payment” disputes.

                  Sheridan is neither asserting claims for, or seeking damages for
                  “denied care.”

                  Sheridan’s Complaint unambiguously asserts state law claims
                  against Defendants based upon a dispute over payment rates . . . .

                  Each of Sheridan’s discovery responses likewise provide
                  confirmation of the nature of the claims asserted in this litigation
                  as limited to “rate of payment” disputes.

                  [O]nce identified, any such [denied] claims will be removed as
                  Sheridan has made clear the asserted claims against Defendants
                  concern issues of the “rate of payment” and not the “right of
                  payment.”

                   [E]very response from Sheridan confirms it seeks only
                  independent “rate of payment” state law claims and not “denied
                  care” . . . . Sheridan disclaimed any cause of action based upon
                  denied health care . . . .

                  [T]he only issue raised by Sheridan’s Complaint involves the
                  correct rate of payment issued by Defendants . . . .

                  Sheridan has agreed that if such [denied] claims do mistakenly
                  exist within its preliminary discovery, they will be removed as they
                  are plainly intended to be excluded.

                  Here, as detailed supra, pp. 4-5, Sheridan’s claims concern only
                  the rate of payment Defendants were obligated to pay for
                  authorized, covered services.

                  Sheridan is not seeking damages based on denials of care under
                  ERISA (or FEHBA) plans and, as explained, will remove any such
                  claims identified from its final damages.

                  Sheridan will be removing any alleged spreadsheet entries that
                  involve denied care or FEHBA plans in future discovery

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                  production once identified, thus negating whatever nascent
                  jurisdiction could exist.

  Case No. 0:15-cv-62590-BB, CM/ECF No. 36 at 2, 3, 4, 6, 10, 11, 13, 14, 20 (emphasis in

  original).

          10.     Likewise, in its Reply in Support of its First Motion to Remand, Sheridan

  continued to represent that it was not asserting claims based upon Defendants’ denial of benefits:

                  Sheridan seeks only damages for covered, authorized and paid
                  (albeit underpaid) health care claims and expressly excludes claims
                  for benefits coverage or denied care.

                  Sheridan’s Complaint . . . involves only non-preempted state law
                  claims involving the “rate of payment,” not denied care.

                  [T]here is not a single allegation within Sheridan’s Complaint that
                  discusses, alleges, or implies that Sheridan seeks damages for the
                  denial of health care benefits.

                  Sheridan need not disclaim causes of action it does not bring, does
                  not allege factually anywhere within its Complaint, and is not
                  seeking damages for: namely, denied care.

  Case No. 0:15-cv-62590-BB, CM/ECF No. 42 at 2, 3, 5 (underlining in original).

          11.     When the Court granted Sheridan’s First Motion to Remand, it expressly based its

  Remand Order upon Sheridan’s representations that it was not asserting claims based upon

  Defendants’ denial of benefits, but only upon the rate of payment provided for those claims.

  Remand Order, Case No. 0:15-cv-62590-BB, CM/ECF No. 45 at pp. 8-10. The Court expressly

  noted that “there is not a single allegation within Sheridan’s Complaint that discusses, alleges, or

  implies that Sheridan seeks damages for the denial of health care benefits.” Id. at pp. 9-10.

          12.     The October 29 Letter from Sheridan’s counsel makes clear that, contrary to

  Sheridan’s representations to the Court, Sheridan is in fact seeking damages based upon

  Defendants’ denial of claims submitted by Sheridan.




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          13.     On November 6, 2018, the 17th Judicial Circuit for Broward County, Florida, held

  a hearing in this matter. A true and correct copy of the Hearing Transcript is attached hereto as

  Attachment 5. When it was brought to the attention of Chief Judge Jack Tuter that Sheridan’s

  case actually included the denied claims Sheridan had disclaimed in obtaining a remand, Chief

  Judge Tuter instructed Sheridan to promptly remove any denied claims, or to advise by

  November 12, 2018, that it would not do so:

                  [Defendants’ Counsel]: . . . so the claims that are based upon
                  coverage denials under the ERISA plan should be tried in federal
                  court or not at all, and this is just another issue I wanted to bring up
                  that must be sorted out before the case goes forward.

                  THE COURT:          How many claims are we talking about?

                  [Defendants’ Counsel]:      Somewhere between 5,000 and 7,000
                  claims.

                  THE COURT:       You guys got to get this resolved, Todd
                  [Sheridan’s Counsel].

                  [Sheridan’s Counsel]:      I think he’s mischaracterizing           the
                  testimony significantly from our expert, but —

                  THE COURT:         Well, if there are claims that the federal court or
                  some other judge or some other — whatever administrative law
                  judge has said are disallowed, I don’t know how in the world you
                  could bring them in this case and I don’t know why you would
                  want to because it would just —

                  [Sheridan’s Counsel]:       That’s correct, your Honor.

                  THE COURT:          — clutter up the evidence.

                  [Sheridan’s Counsel]:      That’s correct. We’re aware of the
                  evidence and we’re aware of what we framed in our pleadings and
                  we’re aware of what’s relevant to this Court and that’s the only
                  claims that will be tried.

                  THE COURT:         All right. Well, I think you ought to let him
                  know that you’re not — if you don’t intend to pursue those
                  disputed claims to let him know in five days by letter or stipulation
                  or something so that we don’t let that issue drag on on [sic] the eve
                  of trial.

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                  [Sheridan’s Counsel]:     Understood.

  Attachment 5 at 19:22–21:5.

          14.     On November 11, 2018, Sheridan’s counsel sent a letter to Defendants’ counsel

  regarding the state court’s November 6 rulings (the “November 11 Letter”). A true and correct

  copy of the November 11 Letter is attached hereto as Attachment 6. In the November 11 Letter,

  Sheridan’s counsel admitted that denied claims are and will remain part of its damage model.

          15.     Sheridan’s counsel claimed in the November 11 Letter that “we are working with

  our experts to identify certain unpaid claims that we will be removing from our damages model.

  We do not anticipate that these updates will result in a material change to the conclusions

  reached by our expert.” Sheridan’s counsel did not, however, commit to removing all denied

  claims from its damages model.

          16.     On November 12, 2018, Sheridan provided Defendants with an updated

  spreadsheet of claims in its damages model. The spreadsheet reflects that Sheridan has excluded

  only 36 of the more than 5,400 Post-Termination Denied Claims (as well as removing 400 Pre-

  Termination Denied Claims). In other words, despite its representations to the Court to obtain

  remand from Defendants’ first removal that it would exclude all denied claims from its damages

  model, Sheridan has only excluded some of the denied claims.

          17.     Because Sheridan is challenging the denial of benefits under federally regulated

  benefit plans, Sheridan’s claims for damages arising from such plans and benefits are completely

  preempted by federal law and its case is thus removable to federal court. 28 U.S.C. § 1446(b).

          18.     ERISA Complete Preemption Raises a Federal Question.                  Sheridan’s

  Complaint necessarily raises a federal claim in character because ERISA completely preempts

  certain state law claims as set forth below. Therefore, the State Court Action may be removed to

  this Court because it arises under the laws of the United States.

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             19.     The Complaint alleges that Sheridan “is a physician management organization”

  that rendered healthcare services to the Defendants’ health plan members. 6 Among its pled

  causes of action, Sheridan “seeks damages for contractual breaches” of a Hospital Based

  Physician Group Agreement (“HBP Agreement”) for medical services Sheridan provided to

  Aetna members prior to the agreement’s termination on March 25, 2015. 7 Sheridan is also

  seeking damages in connection with medical services Sheridan provided after the termination of

  the HBP Agreement pursuant to an “implied” contract purportedly formed pursuant to a

  continuing offer letter Sheridan sent to Aetna. 8

             20.     Most importantly, Sheridan is seeking to recover under an unjust enrichment

  claim, which has no connection to any contract. In support of this cause of action, Sheridan

  alleges that, separate and apart from any contract, “Aetna has failed to pay the reasonable value

  of the benefit conferred, in this case the medical services provided, in that Aetna underpaid

  Sheridan’s claims and reimbursed Sheridan at far below its usual and customary charges and

  below the reasonable value of the services provided.” 9 Most of the members whose medical

  services and medical claims are at issue in this dispute were covered under employee benefits

  plans governed by ERISA.

             21.     Regardless of the theory of liability, the October 29 Letter and November 11

  Letter make clear that Sheridan is, in fact, seeking damages for medical claims that were denied

  in whole, or in part, based upon coverage terms of the respective member’s ERISA plan.

  Sheridan is not entitled to payment for its medical services under the HBP Agreement, or any
  6
      See Complaint, Attachment 1 at ¶¶ 15, 23, 31.
  7
      Id. at ¶ 3.
  8
      Id.
  9
      Id. at ¶ 97.


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  “implied” contract, or any non-contract claim if the services are not covered under the member’s

  plan. For non-covered medical claims, Sheridan is seeking unpaid benefits allegedly owed under

  the members’ respective ERISA plans and is therefore challenging Aetna’s coverage

  determinations as the ERISA claims administrator for those plans.

          22.     With respect to the denied medical claims at issue, therefore, Sheridan is

  necessarily bringing a claim within the scope of ERISA (rather than state contract law) under

  controlling Eleventh Circuit law. Claims about “wrongfully denied benefits” relate “directly to

  the coverage afforded by the ERISA plans,” and are completely preempted. Borrero v. United

  Healthcare of N.Y., Inc., 610 F.3d 1296, 1304-05 (11th Cir. 2010) (holding that providers’ action

  alleging that insurer failed to pay healthcare providers at contracted rates was subject to federal

  jurisdiction); see Conn. State Dental Ass’n, 591 F.3d at 1350–53 (11th Cir. 2009) (holding that

  the providers’ claims were completely preempted by ERISA's remedies provision, where the

  providers claimed the administrator improperly paid them below their contracted rates, refused to

  pay claims for “medically necessary” services, or “systematically” reduced providers’

  “reimbursement for medically necessary services”).

          23.     Furthermore, both before and after the termination of the HBP Agreement,

  Sheridan’s only entitlement to payment for covered medical services provided to Aetna members

  required an assignment of medical benefits from the members. Sheridan did, in fact, submit its

  medical claims to Aetna pursuant to assignments of benefits payable under the members’ various

  ERISA plans. 10 As an assignee of the patients’ rights to payment of any medical benefits

  available under these ERISA plans, Sheridan had standing and could have brought its claims

  complaining about Aetna’s coverage determinations under the relevant plans under the civil

  10
    See, e.g., Case No. 0:15-cv-62590-BB, CM/ECF No. 41-1 (showing Sheridan’s submission of
   claims for benefits via assignments from the patients).


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  enforcement provisions of ERISA.           Sheridan’s claims for unpaid benefits in this lawsuit,

  especially its claims for unjust enrichment, are therefore not based on any duty independent of

  ERISA or the ERISA plans’ respective terms. Hence, Sheridan’s state law claims are completely

  preempted by ERISA’s civil enforcement scheme codified at 29 U.S.C. § 1132(a). See Aetna

  Health Inc. v. Davila, 542 U.S. 200, 209-11 (2004); Borrero, 610 F.3d at 1304.

            24.     The Supreme Court’s test for complete preemption under ERISA specifically

  provides that a state law cause of action falls within the scope of section 502(a) and is

  completely preempted by ERISA if (1) the plaintiff, at some point in time, could have brought

  the claim under section 502(a), and (2) there is no other legal duty independent of ERISA or the

  plan’s terms that is implicated by a defendant’s actions. Davila, 542 U.S. at 201.

            25.     The first prong of the Davila test is satisfied here because it is well-established

  that state law causes of action for improper denial of claims for ERISA plan benefits fall within

  the scope of section 502(a) of ERISA. 11 As reflected by Sheridan’s counsel’s letters of October

  26 and November 11, Sheridan has emphatically stated that it is disputing the denial of a

  substantial number of ERISA-governed medical claims and is seeking damages from Defendants

  for such denials.

            26.     The second prong of the Davila test is also met here because Sheridan’s claims do

  not “implicate legal duties independent of those imposed by ERISA or an ERISA plan’s terms.”12

  The Eleventh Circuit Court of Appeals has repeatedly held that any complaint from an assignee-

  provider concerning a denial of benefits, no matter how artfully pled, precludes a wholly


  11
      See Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 56-57 (1987); 29 U.S.C. § 1132(a)(1)(B)
    (allowing participants and beneficiaries to seek monetary, injunctive and declaratory relief
    concerning their entitlement to benefits).
  12
       See Borrero v, 610 F.3d at 1304 (citing Davila, 542 U.S. at 210).


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  “independent duty” and thus supports removal to federal court. 13 This specifically includes

  Sheridan’s unjust enrichment claim, which is not based on any independent legal duty imposed

  apart from the patients’ respective ERISA plans. On these bases, Defendants properly remove

  Sheridan’s case to this Court.

            27.    Notice Filed in the State Court. Promptly after filing this Second Notice of

  Removal, written notice thereof will be given to Sheridan and a copy of this Second Notice of

  Removal will be filed with the Clerk of Broward County, Florida, as provided by law. A true and

  correct copy of the Notice being filed with the Clerk of Broward County, Florida is attached

  hereto as Attachment 7.

            WHEREFORE, Defendants pray that the State Court Action be removed to the United

  States District Court for the Southern District of Florida.

                                                         Respectfully submitted,

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                                                         AETNA LIFE INSURANCE COMPANY,
                                                         COVENTRY HEALTH AND LIFE
                                                         INSURANCE COMPANY, COVENTRY
                                                         HEALTH CARE OF FLORIDA, INC.,
                                                         COVENTRY HEALTH PLAN OF
                                                         FLORIDA, INC., AND FIRST HEALTH
                                                         LIFE AND HEALTH INSURANCE
                                                         COMPANY

  13
       See Conn. State Dental Ass’n, 591 F.3d 1337 at 1351-53; Borrero, 610 F.3d at 1304-05.


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 16, 2018, I electronically filed the foregoing document
  with the Clerk of Court for the U.S. District Court, Southern District of Florida, using the
  electronic case filing system of the Court. I also certify that true and correct copies have also
  been served on all counsel of record via E-Mail, this 16th day of November, 2018.


                                              /s/ Richard P. Hermann
                                              Richard P. Hermann, II




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